     Case 2:15-cv-04326-MWF-JEM Document 15 Filed 09/01/15 Page 1 of 2 Page ID #:95




 1    LAWYERS FOR CLEAN WATER, INC.
 2    Drevet Hunt (Bar No. 240487)
            Email: drev@lawyersforcleanwater.com
 3    1004-A O’Reilly Avenue
 4    San Francisco, California 94129
      Telephone: (415) 440-6520
 5    Facsimile: (415) 440-4155
 6
      Attorneys for Plaintiff
 7
      LOS ANGELES WATERKEEPER
 8
 9
                              UNITED STATES DISTRICT COURT
10                           CENTRAL DISTRICT OF CALIFORNIA
11
      LOS ANGELES WATERKEEPER, a                       Civil Case No. 15-cv-04326 MWF-JEM
12    California non-profit corporation,
13                                                     REQUEST FOR ENTRY OF
                       Plaintiff,                      DEFAULT
14          vs.
15
      A AND A METAL RECYCLING, INC., a
16    California corporation; SINDY CARDONA,           (Federal Water Pollution Control Act,
17    an individual;                                   33 U.S.C. §§ 1251 et seq.)
                      Defendants.
18
19          TO: THE CLEARK OF THE ABOVE-ENTITLED COURT
20          Plaintiff Los Angeles Waterkeeper (“Waterkeeper” or “Plaintiff”) hereby requests
21    that the Clerk of the above-entitled court enter default in this matter against defendants A
22    and A Metal Recycling, Inc. and Sindy Cardona (collectively “Defendants”) on the
23    ground that each Defendant has failed to appear or otherwise respond to the complaint
24    within the time prescribed by the Federal Rules of Civil Procedure.
25          On June 8, 2015, Plaintiff filed a complaint against A and A Metal Recycling, Inc.
26    and Sindy Cardona in the United States District Court, Central District of California. On
27    July 17, 2015 Plaintiff served the summons and complaint on Defendants as evidenced by
28
      Request to Enter Default                         Civil Case No. 15-cv-04326 MWF-JEM
                                              1
     Case 2:15-cv-04326-MWF-JEM Document 15 Filed 09/01/15 Page 2 of 2 Page ID #:96




 1    the proof of services of summons on file with the court. See ECF Dkt. Nos. 10, 11.
 2    Defendants’ responsive pleadings were due August 7, 2015. See id. Where as of the date
 3    of the filing of this request, Defendants have not responded to the complaint.
 4          The above stated facts are set forth in the accompanying declaration of Drevet
 5    Hunt in Support of the Request for Entry, filed herewith.
 6
 7    Dated: September 1, 2015                     Respectfully submitted,
 8                                                 LAWYERS FOR CLEAN WATER, INC.
 9
10                                                       /s/ Drevet Hunt
11                                                 Drevet Hunt
                                                   Attorney for Plaintiff
12                                                 Los Angeles Waterkeeper
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
      Request to Enter Default                         Civil Case No. 15-cv-04326 MWF-JEM
                                             2
